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          17                      UNITED STATES DISTRICT COURT
          18        FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

          19        MASIMO CORPORATION,                          CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
          20        CERCACOR LABORATORIES, INC.,
                    a Delaware corporation,                      DEFENDANT APPLE INC.’S NOTICE
          21                                                     AND EX PARTE APPLICATION FOR
                                       Plaintiffs,
                                                                 AN ORDER STAYING MAGISTRATE
          22
                          v.                                     JUDGE EARLY’S JUNE 15, 2020
          23                                                     ORDER UNTIL THE HEARING ON
                    APPLE INC.,
                    a California corporation,                    JULY 20, 2020
          24
          25                           Defendant.                Hon. James V. Selna
                                                                 No Hearing Noticed
          26
          27
          28

Gibson, Dunn &
Crutcher LLP        APPLE’S EX PARTE APP. FOR AN ORDER STAYING
                    MAG. JUDGE EARLY’S JUNE 15, 2020 ORDER                CASE NO. 8:20-CV-00048-JVS (JDEX)
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       1               PLEASE TAKE NOTICE that, pursuant to Local Rule 7-19, Defendant Apple
       2         Inc. (“Apple”) hereby submits this Ex Parte Application for an order staying
       3         enforcement of Magistrate Judge Early’s June 15, 2020 Order Denying Apple’s Motion
       4         for a Protective Order Barring Trade Secret-Related Discovery Absent a Trade Secret
       5         Identification (Dkt. No. 54) until the July 20, 2020 hearing before this Court on Apple’s
       6         Motion for Review of and Objections to Magistrate Judge Early’s Order (the “Motion
       7         for Review,” Dkt. No. 57).
       8               This Application is made ex parte on the grounds that: (1) Apple will be
       9         irreparably prejudiced if its request for a short stay is heard according to regular noticed
     10          motion procedures; (2) Apple is without fault in creating the need for this ex parte relief;
     11          and (3) Apple’s requested stay is meritorious.
     12                First, Plaintiffs have been pursuing a trade secret case for months and have told
     13          the Court that they will continue to do so with an amended complaint. Plaintiffs
     14          nonetheless have not complied with California Code of Civil Procedure Section
     15          2019.210 (“Section 2019.210”), which ensures that Plaintiffs do not misuse Apple’s
     16          confidential information in their trade secret case. The Motion for Review will resolve
     17          whether Apple must produce its confidential, technical information before Plaintiffs
     18          Masimo Corporation and Cercacor Laboratories, Inc. (“Plaintiffs”) comply with Section
     19          2019.210. As set forth in its Motion for Review, Apple maintains that it should not be
     20          required to produce this discovery, which is related to Plaintiffs’ trade secret claim,
     21          before Plaintiffs identify their alleged trade secrets with reasonable particularity under
     22          Section 2019.210.     Requiring Apple to do so would eviscerate the purpose and
     23          protections of Section 2019.210 and run counter to the Court’s April 17, 2020
     24          Scheduling Order requiring Plaintiffs to comply with the statute (Dkt. No. 37).
     25          Notwithstanding that the Motion for Review is fully briefed and scheduled to be heard
     26          by this Court in just a few days’ time, Plaintiffs are demanding that Apple disclose its
     27          confidential, technical information now, before the Motion for Review is decided, even
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                 MAG. JUDGE EARLY’S JUNE 15, 2020 ORDER     1         CASE NO. 8:20-CV-00048-JVS (JDEX)
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       1         though Plaintiffs still have not provided a Section 2019.210 disclosure. 1 Plaintiffs’
       2         demand implicates the central issue presented by Apple’s Motion for Review—whether
       3         Apple should be required to produce its highly sensitive, technical information that
       4         relates to Plaintiffs’ trade secret claim before Plaintiffs comply with Section 2019.210.
       5         Critically, if Apple is forced to produce this information now, before the Court decides
       6         the Motion for Review, Plaintiffs will be able to review Apple’s confidential information
       7         and trade secrets before they identify their own. That action cannot be undone later,
       8         even if the Court subsequently rules in Apple’s favor on the Motion for Review, and
       9         thus would render any decision in Apple’s favor on the Motion for Review meaningless.
     10          A temporary stay of Magistrate Judge Early’s June 15, 2020 Order pending the July 20,
     11          2020 hearing on the Motion for Review therefore is reasonable and necessary. This
     12          relief must be sought by ex parte procedures because the length of the requested stay is
     13          shorter than the briefing schedule on a regularly-noticed motion—and, therefore, a
     14          regularly-noticed motion would not be decided in time to prevent harm to Apple, given
     15          that Magistrate Judge Early’s June 15, 2020 Order remains in effect absent a stay or
     16          modification (see Local R. 72-2.2). Apple will be irreparably prejudiced if required to
     17          produce confidential, technical information now, before this Court has an opportunity to
     18          rule on Apple’s Motion for Review.
     19                Second, Apple is without fault in creating this need for ex parte relief. On June
     20          15, 2020, Magistrate Judge Early denied Apple’s Motion for a Protective Order, and on
     21          June 19, 2020, Apple filed its Motion for Review of that Order, to be heard by this Court
     22          on July 20, 2020. On June 23, 2020, this Court denied Plaintiffs’ ex parte application
     23          seeking Apple’s production of confidential, technical documents in the absence of a
     24          protective order, ordering the parties to submit their disputes over the protective order to
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     26           1
                     The Court dismissed Plaintiffs’ trade secret claim with leave to replead on June 25,
                 2020 (Dkt. No. 60), but Plaintiffs have confirmed that they will replead. Dkt. No. 64
     27          (stating they will file “an amended complaint pursuant to this Court’s June 25 Order”).
                 Thus, Plaintiffs will be required to serve a Section 2019.210 disclosure (see Dkt. No.
     28          37), and should not be permitted to commence trade secret-related discovery absent one.

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       1         Magistrate Judge Early by June 27, 2020. Dkt. No. 59. The parties filed a joint
       2         stipulation about their protective order disputes on June 26, 2020 (Dkt. No. 61), and
       3         noticed the hearing on the protective order disputes for July 23, 2020—three days after
       4         the scheduled hearing before this Court on Apple’s Motion for Review. Given these
       5         dates, Apple reasonably anticipated that this Court would decide Apple’s Motion for
       6         Review before Magistrate Judge Early entered a protective order, and therefore saw no
       7         need to burden the Court with an unnecessary request for a stay of enforcement of Judge
       8         Early’s June 15, 2020 Order. Magistrate Judge Early, however, entered a protective
       9         order much sooner, on June 30, 2020, before receiving the parties’ supplemental briefs
     10          under Local Rule 37-2.3 and without holding a hearing on the parties’ protective order
     11          disputes. See Dkt. 67. Plaintiffs are now using the fact of this entered protective order
     12          to demand production of Apple’s confidential, technical information—even though that
     13          discovery is trade secret-related and Plaintiffs have not yet even attempted to comply
     14          with Section 2019. Given the noticed timeline for the parties’ disputes about a protective
     15          order, Apple could not have anticipated that Magistrate Judge Early would enter a
     16          protective order as soon as he did and, therefore, that there would be any need to burden
     17          the Court with a request for a stay. But now that a protective order has been entered,
     18          Apple requires a short stay to prevent disclosure of confidential, technical information
     19          that this Court may soon order it not to produce until Plaintiffs satisfy Section 2019.210.
     20                Third, each factor of the Supreme Court’s four-factor test for granting a motion
     21          for a stay articulated in Nken v. Holder, 556 U.S. 418, 434 (2009), favors this Court’s
     22          entry of a temporary stay of Judge Early’s June 15, 2020 Order until the July 20, 2020
     23          hearing on Apple’s Motion for Review. Most notably, in its Motion for Review, Apple
     24          has made a strong showing that Judge Early’s Order is contrary to law because it
     25          contradicts the plain language and purpose of Section 2019.210, and renders this Court’s
     26          stay of trade secret discovery pending Plaintiffs’ compliance with Section 2019.210
     27          meaningless. Apple will be irreparably prejudiced in the absence of the short stay
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       1         requested, because Judge Early’s Order requires production of confidential, technical
       2         information that cannot be unlearned once reviewed by Plaintiffs.
       3               Pursuant to Local Rule 7-19, counsel for Apple gave notice of this Application to
       4         counsel for Plaintiffs. On July 10, 2020, at 2:06 p.m., counsel for Apple spoke by
       5         telephone with Plaintiffs’ counsel, notifying them of the specific date and contents of
       6         this Application. Lerner Decl. ¶ 2. Plaintiffs’ counsel subsequently stated that Plaintiffs
       7         intend to oppose this Application. Id.
       8               The contact information for Plaintiffs’ counsel is as follows:
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     24                This Ex Parte Application is based on this Notice, the accompanying
     25          Memorandum of Points and Authorities, the accompanying Declaration of Joshua H.
     26          Lerner and Exhibits appended thereto, all other papers and pleadings on file in this
     27          action, all matters of which judicial notice may be taken, and such argument and
     28

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       1         evidence as may be presented at the hearing on this Application, if any.
       2
       3         Dated: July 10, 2020                  Respectfully submitted,
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       9
                                                       By: /s/ Joshua H. Lerner
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     11
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          17                      UNITED STATES DISTRICT COURT
          18        FOR THE CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

          19        MASIMO CORPORATION,                          CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
          20        CERCACOR LABORATORIES, INC.,
                    a Delaware corporation,                      DEFENDANT APPLE INC.’S
          21                                                     MEMORANDUM IN SUPPORT OF
                                       Plaintiffs,
                                                                 ITS EX PARTE APPLICATION FOR
          22
                          v.                                     AN ORDER STAYING MAGISTRATE
          23                                                     JUDGE EARLY’S JUNE 15, 2020
                    APPLE INC.,
                    a California corporation,                    ORDER UNTIL THE HEARING ON
          24
                                                                 JULY 20, 2020
          25                           Defendant.
                                                                 Hon. James V. Selna
          26
                                                                 No Hearing Noticed
          27
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       1                                        I.     INTRODUCTION
       2               Apple brings this Ex Parte Application for a stay of enforcement of Magistrate
       3         Judge Early’s June 15, 2020 Order (Dkt. No. 54) until the July 20, 2020 hearing on
       4         Apple’s fully-briefed Motion for Review of and Objections to Magistrate Judge Early’s
       5         June 15, 2020 Order (Dkt. No. 57) (the “Motion for Review”). Apple requests that the
       6         Court grant ex parte relief and issue this short stay for three reasons.
       7               First, there can be no dispute that this is a trade secret case. Plaintiffs have alleged
       8         a trade secret claim from the outset and told Apple—and the Court—that they will amend
       9         that claim shortly.    Apple will be irreparably prejudiced if required to produce
     10          confidential, technical documents now, before the Court decides the Motion for Review
     11          and potentially rules that Apple need not produce such documents until Plaintiffs comply
     12          with Section 2019.210. If Apple is forced to produce this information now, Plaintiffs
     13          will be able to review Apple’s confidential information and trade secrets before they
     14          identify their own. This knowledge of Apple’s confidential, technical information that
     15          Plaintiffs would acquire could not be unlearned later, even if the Court subsequently
     16          were to rule in Apple’s favor on the Motion for Review, and thus would render any
     17          decision in Apple’s favor on the Motion for Review meaningless. A temporary stay of
     18          enforcement of Judge Early’s June 15, 2020 Order pending the July 20, 2020 hearing on
     19          the Motion for Review therefore is reasonable and necessary to prevent potentially
     20          irreversible harm to Apple. This relief must be sought via ex parte procedures because
     21          the length of the requested stay is shorter than the briefing schedule for a regularly-
     22          noticed motion—and, therefore, a regularly-noticed motion for a stay would not be
     23          decided in time to prevent harm to Apple where Judge Early’s June 15, 2020 Order
     24          remains in effect absent such a stay (see Local R. 72-2.2).
     25                Second, Apple is not responsible for creating the need for emergency relief. When
     26          Plaintiffs filed an ex parte application requesting that this Court order Apple to produce
     27          its technical documents in the absence of a protective order, the Court denied the
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       1         application and ordered the parties to submit their protective order disputes to Magistrate
       2         Judge Early by June 27, 2020. Dkt. No. 59, at 1. The parties filed a joint stipulation
       3         concerning their protective order dispute on July 26, 2020, and noticed the hearing for
       4         July 23, 2020—three days after the Motion for Review was noticed to be heard by this
       5         Court. Dkt. No. 61; see also Dkt. No. 57. Thus, Apple expected that its Motion for
       6         Review—and the issue of Plaintiffs’ non-compliance with Section 2019—would be
       7         decided before Judge Early entered a protective order. However, Judge Early entered a
       8         protective order on June 30, 2020 (Dkt. No. 67), much earlier than the parties could have
       9         anticipated, thus necessitating this emergency request for a short stay to prevent Apple
     10          from having to disclose confidential, technical information that this Court may very soon
     11          order it not to produce until Plaintiffs comply with Section 2019.210.
     12                Third, Apple’s requested 10-day stay is meritorious. Each factor of the Supreme
     13          Court’s four-factor test for granting a motion for a stay articulated in Nken v. Holder,
     14          556 U.S. 418, 434 (2009), favors this Court’s entry of a temporary stay of Judge Early’s
     15          June 15, 2020 Order until the July 20, 2020 hearing on Apple’s Motion for Review. In
     16          the Motion for Review, Apple has made a strong showing that Judge Early’s June 15,
     17          2020 Order is contrary to law because it contradicts the plain language and purpose of
     18          Section 2019.210, and renders this Court’s stay of trade secret discovery pending
     19          Plaintiffs’ compliance with Section 2019.210 meaningless. Moreover, Apple will be
     20          irreparably prejudiced without a stay, because Judge Early’s Order requires production
     21          of confidential, technical information that cannot be unlearned once reviewed by
     22          Plaintiffs. A temporary stay also would not substantially injure Plaintiffs, because they
     23          do not need Apple’s confidential, technical documents now in order to meet any
     24          scheduled deadlines in this case—and even if they did, they could seek, with Apple’s
     25          consent, a short extension of such deadlines. Lastly, the public interest in expeditious
     26          proceedings would not be overly burdened by a short stay because the Motion for
     27          Review is scheduled to be heard in just 10 days’ time.
     28

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       1                This Court should grant Apple’s Ex Parte Application and stay enforcement of
       2         Judge Early’s June 15, 2020 Order until the July 20, 2020 hearing on Apple’s Motion
       3         for Review.
       4                                            II.    ARGUMENT

       5               A party moving for ex parte relief must show that (1) its “cause will be irreparably
       6         prejudiced if the underlying motion is heard according to regular noticed motion
       7         procedures”; and (2) it is “without fault in creating the crisis that requires ex parte relief,
       8         or that the crisis occurred as a result of excusable neglect.” Mission Power Eng’g Co. v.
       9         Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995). Apple’s Ex Parte Application
     10          satisfies both elements, as well as all of the relevant factors courts consider in
     11          determining whether to issue a stay of the type Apple seeks. See Nken, 556 U.S. at 434.
     12          A.    Ex Parte Relief is Necessary to Prevent Irreparable Prejudice to Apple.
     13                Absent the relief requested by Apple, Plaintiffs will be permitted to gain access to
     14          Apple’s confidential, technical information before the Court potentially decides the
     15          Motion for Review in Apple’s favor, holding that Plaintiffs are not entitled to such
     16          information before complying with Section 2019.210. Apple would be irreparably
     17          prejudiced as a result.
     18                As explained in Apple’s Motion for Review, Magistrate Judge Early’s June 15,
     19          2020 Order was contrary to law because it adopted Plaintiffs’ erroneous interpretation
     20          of this Court’s Scheduling Order, which stayed “the trade secret discovery only pending
     21          compliance with Section 2019.210.” Dkt. No. 37, at 1. Magistrate Judge Early agreed
     22          with Plaintiffs that this language stayed only discovery that is solely related to Plaintiffs’
     23          trade secret claim (Dkt. 57-1, at 6–7), thereby permitting Plaintiffs to commence trade
     24          secret-related discovery before they comply with Section 2019.210 so long as the
     25          discovery is also related to Plaintiffs’ patent claims. Id. This was legal error because it
     26          contradicts the plain language and purpose of Section 2019.210, and renders the statute
     27          with which this Court ordered Plaintiffs to comply meaningless.                 Id. at 6–11.
     28

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       1         Accordingly, Apple has requested that the Court reverse Magistrate Judge Early’s Order,
       2         and require Plaintiffs to provide a Section 2019.210-compliant disclosure before
       3         Plaintiffs commence any discovery from Apple that is trade secret-related. Id. at 13.
       4               This Court has not yet ruled on the Motion for Review; the Motion is fully briefed
       5         (Dkt. Nos. 57, 64, 71), and noticed for hearing on July 20, 2020. Plaintiffs nonetheless
       6         are pressuring Apple to produce its confidential, technical documents now, asserting that
       7         because a protective order has been entered, they are entitled to Apple’s confidential,
       8         technical information even though they have not yet complied with Section 2019.210.
       9         See Lerner Decl. Ex. A, at 5. Apple therefore seeks ex parte relief in the form of a stay
     10          of enforcement of Judge Early’s June 15, 2020 Order, on the basis that it should not be
     11          required to produce confidential, technical information before the Court decides the
     12          Motion for Review potentially in Apple’s favor. See, e.g., Mireskandari v. Daily Mail
     13          & Gen. Tr. PLC, 2013 WL 12129944, at *1 (C.D. Cal. Jan. 14, 2013) (granting ex parte
     14          application and staying discovery precluded by California’s anti-SLAPP statute until the
     15          Court resolved defendants’ anti-SLAPP motion).
     16                If Apple is forced to produce its confidential, technical information before the
     17          Court decides the Motion for Review, the damage will be done. That is because even if
     18          the Court decides the Motion in Apple’s favor and rules that Plaintiffs cannot obtain
     19          trade secret-related discovery before they comply with Section 2019.210 consistent with
     20          the Court’s Scheduling Order, Plaintiffs will not be able to “un-learn” the Apple
     21          confidential, technical information they were exposed to in the interim—including
     22          before their amended trade secret claim is due on July 27, 2020. Once Plaintiffs review
     23          Apple’s confidential information, any decision requiring them to identify their trade
     24          secrets with reasonable particularity before gaining such access would be meaningless.
     25          Plaintiffs will forever have knowledge of the Apple confidential, technical information
     26          they reviewed, and would have had ample opportunity to craft their trade secret claim to
     27          cover that Apple information—which is precisely what Section 2019.210, with which
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       1         this Court ordered Plaintiffs to comply, protects against.       See Jobscience, Inc. v.
       2         CVPartners, Inc., 2014 WL 852477, at *5 (N.D. Cal. Feb. 28, 2014) (“Experience has
       3         shown that it is easy to allege theft of trade secrets with vagueness, then take discovery
       4         into the defendants’ files, and then cleverly specify what ever [sic] happens to be there
       5         as having been trade secrets stolen from plaintiff.”); see also Swarmify, Inc. v.
       6         Cloudflare, Inc., 2018 WL 2445515, at *3 (N.D. Cal. May 31, 2018). This is the essence
       7         of irreparable prejudice to Apple. And it cannot be rectified “according to regular
       8         noticed motion procedures” (Mission Power, 883 F. Supp. at 492), because the length of
       9         the requested stay—a mere 10 days—is shorter than the briefing schedule on a regularly-
     10          noticed motion, and Judge Early’s June 15, 2020 Order denying Apple’s Motion for a
     11          Protective Order with respect to Apple’s confidential, technical documents remains in
     12          effect absent a stay (see Local R. 72-2.2).
     13          B.    Ex Parte Relief is Warranted Because Apple Is Without Fault in Creating
     14                this Crisis.
     15                Apple did not create the present circumstances that require ex parte relief. All
     16          parties had taken the position that no confidential information would be produced in this
     17          case without a protective order. And on June 23, 2020, this Court denied Plaintiffs’ ex
     18          parte application requesting Apple’s production of confidential, technical documents in
     19          the absence of an entered protective order, ordering the parties to submit their protective
     20          order disputes to Magistrate Judge Early by June 27, 2020, so that a protective order
     21          could be entered before production. Dkt. No. 59. The parties filed a joint stipulation
     22          concerning the protective order disputes with Magistrate Judge Early on June 26, 2020
     23          (the “Protective Order Motion”). The parties noticed the Protective Order Motion for a
     24          hearing to take place on July 23, 2020, three days after the Motion for Review was set
     25          to be heard by this Court. Accordingly, Apple expected this Court to rule on the Motion
     26          for Review before a protective order—prerequisite to its production of any confidential,
     27          technical information—was entered. Under those circumstances, and in an effort to heed
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       1         this Court’s warning that “[e]x parte applications are solely for extraordinary relief and
       2         should be used with discretion” (Dkt. 19 at 3), Apple saw no need then to burden the
       3         Court with a request for a stay. This Court was scheduled to hear Apple’s Motion for
       4         Review before the Protective Order Motion was scheduled to resolve and, in turn, a
       5         protective order would be entered.
       6               Circumstances have since changed. Magistrate Judge Early entered a protective
       7         order much sooner than the parties anticipated—on June 30, 2020 (Dkt. No. 67), before
       8         the supplemental briefing on the Protective Order Motion was due and well before the
       9         noticed hearing on the Protective Order Motion. Given that the protective order has been
     10          entered, Plaintiffs have demanded that Apple immediately produce its confidential,
     11          technical information, even though they have not yet attempted to comply with Section
     12          2019.210. See Lerner Decl. Ex. A, at 5. But this Court has not yet ruled on Apple’s
     13          Motion for Review—which tees up this very Section 2019.210 issue—and the hearing
     14          on that Motion is not scheduled to take place for another 10 days. This change in
     15          sequence of events, created by an earlier-than-anticipated entry of a protective order in
     16          this action, caused the change of circumstances that require Apple’s request for relief to
     17          be made by ex parte procedures.
     18          C.    All Relevant Factors Weigh in Favor of the Stay Apple Seeks.
     19                A district court has discretion to stay proceedings and discovery as part of its
     20          “inherent power to control the disposition of the causes on its docket in a manner which
     21          will promote economy of time and effort for itself, for counsel, and for litigants.”
     22          Mireskandari, 2013 WL 12129944, at *1 (quoting Moser v. Encore Capital Grp., Inc.,
     23          No.04CV2085-LAB, 2007 WL 1114113, *3 (S.D. Cal. Mar. 27, 2007), and citing Filtrol
     24          Corp. v Kelleher, 467 F.2d 242 (9th Cir. 1972)). The Supreme Court has identified four
     25          factors that courts should consider in deciding whether to grant a stay: “(1) whether the
     26          stay applicant has made a strong showing that he is likely to succeed on the merits;
     27          (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance
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       1         of the stay will substantially injure the other parties interested in the proceeding; and
       2         (4) where the public interest lies.” Nken, 556 U.S. at 434 (quoting Hilton v. Braunskill,
       3         481 U.S. 770, 776 (1987)). The first two of these factors “are the most critical.” Id.
       4               Here, each factor favors granting a short stay of the type requested by Apple. As
       5         to the first factor, Apple has made a strong showing that it is likely to succeed on its
       6         Motion for Review. As explained above and in the Motion for Review, Magistrate Judge
       7         Early’s June 15, 2020 Order is contrary to law because it permits Plaintiffs to commence
       8         trade secret-related discovery without first complying with Section 2019.210, and
       9         therefore is inconsistent with the plain language and purpose of the statute. Dkt. 57-1,
     10          at 6–13; see also Cal. Civ. Code § 2019.210 (“[B]efore commencing discovery relating
     11          to the trade secret, the party alleging the misappropriation shall identify the trade secret
     12          with reasonable particularity . . . .”) (emphasis added). Moreover, as Apple explained
     13          in the Motion for Review, Magistrate Judge Early’s Order is inconsistent with this
     14          Court’s Scheduling Order, which stayed trade secret discovery pending Plaintiffs’
     15          compliance with Section 2019.210 (Dkt. 37, at 1), and Plaintiffs admittedly have not yet
     16          so complied. That stay would be rendered meaningless if Plaintiffs are permitted to
     17          obtain Apple’s confidential, technical documents—which relate to their trade secret
     18          claim—without first complying with Section 2019.210. Accordingly, Apple has made
     19          a strong showing of its likelihood to prevail on the merits of its Motion for Review.
     20                The second factor also favors a stay. As discussed above, Apple would be
     21          irreparably injured absent a short, 10-day stay of enforcement of Magistrate Judge
     22          Early’s June 15, 2020 Order. If Apple is forced to produce trade secret-related discovery
     23          before the Court hears the Motion to Review on July 20, 2020, any subsequent decision
     24          on the Motion for Review would come too late to prevent Plaintiffs from unlearning
     25          what they find in Apple’s confidential, technical documents—and using that Apple
     26          information to replead their trade secret claim. This would irreparably harm Apple’s
     27          ability to defend this case, and could be avoided with just a short, 10-day stay.
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       1               The third factor likewise favors a stay. Plaintiffs would not be substantially
       2         injured by the requested stay, because none of the upcoming case deadlines would be
       3         materially impacted by a short delay in Apple’s production of confidential, technical
       4         documents. For example, a short stay would not impact Plaintiffs’ next scheduled
       5         deadline—the infringement contentions, which are currently due on July 27, 2020. Dkt.
       6         33, Ex. A, at 26.
       7               Although Plaintiffs have argued that Apple’s confidential, technical information
       8         is necessary to their preparation of infringement contentions (Dkt. No. 55, at 2–3, 6),
       9         that argument does not withstand scrutiny. Plaintiffs can prepare their infringement
     10          contentions without Apple’s confidential, technical documents because 10 of Plaintiffs’
     11          12 asserted patents are directed to physical features of a physiological monitoring device,
     12          and the products Plaintiffs accuse of infringing those patents (i.e., the Apple Watch
     13          Series 4 and 5) can be physically inspected without reference to any technical
     14          documents. In fact, Plaintiffs have already undertaken such an analysis of the accused
     15          Apple Watch devices. See Dkt. 1 ¶¶ 45, 58, 71, 73, 86, 101, 114, 127, 141. Moreover,
     16          Plaintiffs’ argument is undermined by the patent procedures of other jurisdictions,
     17          including those of the Northern District of California that this Court follows for patent
     18          cases, which require Plaintiffs to serve preliminary infringement contentions before
     19          Defendants are required to produce core technical documents. See, e.g., N.D. Cal. Patent
     20          Local Rule 3-3 and 3-4 (requiring production of core technical documents with
     21          defendant’s invalidity contentions, which are served 45 days after plaintiff’s
     22          infringement contentions). And if Plaintiffs legitimately believed that they needed
     23          Apple’s confidential, technical information to prepare their case, they would not have
     24          delayed providing the Section 2019.210 disclosure that Apple has been requesting for
     25          more than five months. Thus, a short stay until the July 20, 2020 hearing on Apple’s
     26          Motion for Review will not injure Plaintiffs’ ability to prosecute their patent case.
     27                Lastly, the public interest in expeditious proceedings would not be significantly
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       1         burdened by the very short stay requested here because Apple’s Motion for Review is
       2         scheduled to be heard in just 10 days.
       3                                          CONCLUSION
       4               For all of the foregoing reasons, Apple respectfully requests that the Court stay
       5         enforcement of Magistrate Judge Early’s June 15, 2020 Order until this Court’s July 20,
       6         2020 hearing on Apple’s Motion for Review.
       7         Dated: July 10, 2020                     Respectfully submitted,
       8                                                  JOSHUA H. LERNER
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                                                          By: /s/ Joshua H. Lerner
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